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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

PORTEAL GROOM                                 *
                                              *
       Petitioner                             *
                                              *
v.                                            *               Civil No. PJM 99-2881
                                              *               Criminal No. PJM 95-0294
UNITED STATES OF AMERICA                      *
                                              *
       Respondent                             *


                                   MEMORANDUM OPINION

       Petitioner Porteal Groom moves the Court to “reinstate” his petition filed pursuant to 28

U.S.C. § 2255, which the Court denied by Order dated May 24, 2001. For the following reasons,

Petitioner’s Motion to Reinstate 28 U.S.C. § 2255 - Habeas Petition [Paper No. 228] is DENIED.

       Petitioner argues in essence that the Court failed to fully address the ineffective assistance

of counsel claims that he feels were raised or at least suggested by his petition. Petitioner

overlooks the fact that he took an appeal from the May 24, 2001 Order, as to which the United

States Court of Appeals for the Fourth Circuit denied a Certificate of Appealability by per curiam

opinion dated December 6, 2001, and the United States Supreme Court denied a petition for writ

of certiorari on April 15, 2002.

       The present Motion to Reinstate the original Section 2255 Petition was filed on June 3,

2008, more than six years later. Whatever concerns about the effectiveness of his trial counsel

Petitioner may still harbor, the Court is aware of no authority that would permit it to simply re-

open a Section 2255 proceeding that was denied with finality, all the way up to the Supreme

Court, more than six years ago.




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       In any case, having reviewed the Motion to Reinstate on the merits, the Court is satisfied

that none of the issues Petitioner raises would have affected the outcome of his trial, as to which

there was overwhelming evidence of his guilt.

       Accordingly, the Motion to Reinstate 28 U.S.C. § 2255 - Habeas Petition [Paper No. 228]

is DENIED.

       A separate order will ISSUE.


                                                                 /s/
                                                            PETER J. MESSITTE
December 17, 2008                                     UNITED STATES DISTRICT JUDGE




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